              Case 2:02-cr-00416-TLN Document 344 Filed 09/22/09 Page 1 of 2
P R O B 35A         ORDER TERMINATING TERM OF SUPERVISED RELEASE
                      PRIOR TO EXPIRATION DATE--NOTICE OF DEATH


                              UNITED STATES DISTRICT COURT
                                        FOR THE
                             EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                    )
                                            )
                     vs.                    )
                                            )           Docket Number: 2:02CR00416-02
Terrance Otis Mallett                       )
                                            )


On February 6, 2004, the above named was sentenced to a term of 684 months in the Bureau
of Prisons, with a 60 month term of supervised release to commence upon his release from
custody. On June 15, 2005, this office was notified by the Bureau of Prisons that Terrance
Otis Mallett was pronounced dead on June 9, 2005, by doctors at Mercy Community Campus
Hospital in Merced, California. Preliminary cause of death was cardiorespiratory arrest. An
autopsy will be performed by the Merced County Coroner's Office (attached is a copy of the
notification). It is accordingly recommended that this case be closed.


                                    Respectfully submitted,



                                      Teresa C. Hoffman
                                United States Probation Officer

Reviewed by:
                   Karen A. Meusling
                   Supervising United States Probation Officer




                                      ORDER OF COURT

It is ordered that the proceedings in the case be terminated and the case closed.

Dated: September 22, 2009



                                         GARLAND E. BURRELL, JR.
                                         United States District Judge



                                                                                       R ev. 12/2004
                                                                                    P R O B 35A .M R G
         Case 2:02-cr-00416-TLN Document 344 Filed 09/22/09 Page 2 of 2


Attachment
cc:    Assistant United States Attorney
       FLU Unit, AUSA's Office
       Fiscal Clerk, Clerk's Office




                                                                             R ev. 12/2004
                                                                          P R O B 35A .M R G
